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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


UNITED STATES OF AMERICA,

vs.                                                      CASE NO. 8:10CR400-T-EAK-TGW


JOVER TORRES-RIVAS
                                             /
                                                 ORDER


       This cause comes before the Court on notice from the Office of the Federal Defender that
it has satisfied the requirements set forth in the Court’s Omnibus Order In Re: Amendment 782,
United States Sentencing Guidelines, 6:14-MC-78-ORL-22 (“Omnibus Order”), and notification
that the office will not be filing a Motion for Sentence Reduction under Amendment 782 on
behalf of Defendant Torres-Rivas as to the retroactive application of revised sentencing
guidelines (Doc. 145). The Defendant in this case has filed his own motion and memorandum in
support of a reduction in sentence under Amendment 782. The Court will allow the Defendant
to file a further motion requesting a reduction before it determines the matter. Accordingly, it is.
       ORDERED that defendant has up to and including April 29, 2016 to file a motion and
memorandum in support of his contention that his sentence should be reduced. The government
is directed to file a response to any filings within thirty days of the date of any filing from the
defendant. The Court will rule on the issue as soon as possible after that date. The Federal
Defender is withdrawn from this matter.


       DONE AND ORDERED in Chambers in Tampa, Florida this 1st day of March, 2016.
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Copies furnished to: All Counsel of Record
